EXHIBIT 17
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                            Case No. 1:25-CV-10910-ADB

                        Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                        Defendants.



                                  Declaration of Caroline Light

I, Caroline Light, declare as follows:

       1.      I am a Senior Lecturer and Director of Undergraduate Studies in Women, Gender,

and Sexuality Studies (“WGS”). I have been a member of Harvard University’s faculty since 2008.

       2.      I have a BA in history from Duke University and a PhD from the University of

Kentucky in history, with a particular focus on immigration, gender, race, and sexuality in the

United States South.

       3.      I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.

       4.      My research explores the ways race, gender, and region shape collective memory

and archival silence. I have studied and written about the experience of southern Jewish assimila-

tion as well as the intersection of armed self-defense and race and gender violence. I teach under-

graduate courses on labor history, immigration, and gun violence, and I advise undergraduates

pursuing independent research on a variety of topics related to gender, sexuality, race, and power.
       5.      I am Jewish and have conducted significant research on Jewish history in the U.S.

       6.      I am a member of the American Association of University Professors (“AAUP”)

and AAUP – Harvard Faculty Chapter.

       7.      I am aware that the current administration has taken a series of actions targeting

Harvard. In particular, I am aware that on March 31, 2025, the U.S. Department of Education

(“DOE”), U.S. Department of Health and Human Services (“HHS”), and U.S. General Services

Administration (“GSA”) announced a comprehensive review of federal contracts and grants at

Harvard University and its affiliates. I am aware that on April 3, 2025, officials from the DOE,

HHS, and GSA sent a letter to Harvard and demanded that Harvard immediately take a long list

of actions to remain a recipient of federal funding. I am aware that this was followed by a subse-

quent letter from Trump administration officials on April 11, 2025 with more detailed demands

that “incorporate[d] and supersede[d] the terms” of the April 3 letter. Both of these letters were

made public and I have read the demands listed in them.

       8.      I am aware that the demands made of Harvard are vaguely defined but include man-

dates regarding silencing pro-Palestinian political speech or political speech critical of Israel. The

demands also target the institution’s commitment to Diversity, Equity, and Inclusion (“DEI”).

       9.      I am also aware that the federal government has terminated more than $2 billion in

federal grants to Harvard and has threatened to withhold all of Harvard’s federal funding if the

University does not comply with the administration’s demands.

       10.     I work in a field that is under particular scrutiny and is disfavored by the current

administration. Specifically, my research and teaching treat the concepts of gender, sexuality, eth-

nicity, and race as analytically useful categories for studying history and society. I believe that the

Trump administration would consider these topics “woke.” I understand that the Trump




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administration has not defined the term “woke” but instead uses it to refer to anything that the

administration perceives as a threat to the particular kind of exclusionary politics it is trying to

instantiate in our universities and in our culture writ large.

       11.     I am concerned about the future of my research because I worry that Harvard Uni-

versity may feel forced to accede to the Trump administration’s pressure. Although Harvard’s

leadership has made statements to suggest that the institution intends to support academic freedom,

I have seen Harvard take actions that suggest the university is actively making concessions to

comply with the Trump administration’s demands in the face of immense financial pressure. For

example, in response to the Department of Education’s prohibition of graduation celebrations

based on race, Harvard renamed its Office of Equity, Diversity, Inclusion, and Belonging the Of-

fice of “Community and Campus Life,” and discontinued financial support for all affinity group

graduation celebrations. This included the cancellation of “Lavender Graduation” for LGBTQ+

students, graduation ceremonies for First Generation Low Income (“FGLI”) students, and celebra-

tions for students of different races and ethnicities.

       12.     If Harvard continues to capitulate to the Trump administration’s demands, I worry

about the future security of my teaching and scholarship in gender and sexuality studies and ethnic

studies, all of which contribute to Harvard’s prominence as a vibrant and diverse intellectual com-

munity. If Harvard’s leadership decides to make further program cuts, I believe it is likely to target

the programs, centers, and departments that the Trump administration would identify as suspect or

as “woke.” Studies of Women, Gender, and Sexuality could then become a target, with enhanced

scrutiny on its curricular offerings and research. The work that WGS does is likely to be viewed

as a threat to the exclusionary values the Trump administration seeks to implement nationwide.

My position as the Director of Undergraduate Studies in WGS is thus vulnerable.




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       13.     I do not have tenure, which makes me particularly vulnerable to the administra-

tion’s demands for budget cuts.

       14.     As the Director of Undergraduate Studies in WGS, I work closely with more junior

lecturers and pre-tenure faculty. From my personal conversations with junior colleagues, I can tell

that they are fearful of losing their jobs. Lecturers’ positions are among the most precarious among

our faculty, and they stand to lose the most if Harvard’s leadership decides to make concessions

to comply with the Trump administration’s demands.

       15.     I have witnessed a chilling effect on scholarly and pedagogical innovation as a di-

rect result of the Trump administration’s attacks on higher education. My colleagues teaching on

topics related to gender and sexuality – not only in my program, but also in other departments –

have been targeted and doxed based on the titles and intellectual foci of their courses. These attacks

are harmful to academic freedom and freedom of expression, and they are likely to increase if

institutions, like Harvard, feel forced to comply with the administration’s demands.

       16.     I also worry about the mental health of my students. I have many students who are

women, first-generation college students, queer, low-income, non-white, non-U.S. citizens, gender

nonbinary, and/or transgender. They are socially and politically vulnerable and they feel them-

selves to be possible targets of the Trump administration’s attacks. In this moment, many of my

students are demoralized and worried about whether their university will protect them if they are

targeted by the Trump administration.

       17.     The Trump administration’s demands have led to a chilling impact on the academic

environment at Harvard. I have observed that students are becoming more fearful about sharing

their perspectives in public fora. Last semester, the fall of 2024, I taught a general education class

about gun violence. I sought to create an environment where students could speak freely about the




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impacts of firearm violence in their own lives and share and challenge their own beliefs about

these important issues without fear. I worked hard to present a multiplicity of sometimes conflict-

ing perspectives about guns and gun rights and encouraged students to debate the complexities of

our nation’s historic and contemporary approach to gun violence. I shared my own research on the

effects of “stand your ground” laws. Given the current administration’s efforts to abolish bipartisan

efforts to prevent gun violence and their efforts to undermine and defund empirical research, I am

thankful that I am not teaching that class now.

        18.     I feel the chilling effects of the administration’s demand letters around campus. For

example, one of my children gave me a keffiyeh as a Hannukah gift. I wear it as a reminder of my

obligation as a Jewish person to use my relative privilege to resist injustice and to participate in

“tikkun olam,” or healing the world. For me, this means caring about and responding to the suf-

fering of others, like people experiencing genocide in Gaza. There is nothing antisemitic in my

expression of care for and solidarity with Palestinian people. And yet, I have become more cautious

about sharing my thoughts on issues related to Palestine and Israel, in the classroom as well as on

campus more generally. I also worry that, when I wear my keffiyeh in public, I may be inviting

physical harm or violence. I want my institution to continue to be a space of intellectual innovation

and freedom of expression, but the vague and constantly shifting demands from the Trump admin-

istration stand as a direct threat to these core values.




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I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.



Dated: June 1, 2025                           Signed:
                                              Caroline Light
                                              Senior Lecturer and Director of
                                              Undergraduate Studies in Women, Gender,
                                              and Sexuality Studies




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